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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION


CYNTHIA J. SCHNAPF,

     Plaintiff,

v.                                               3:18-cv-00238-RLY-MPB

MERCHANTS’ CREDIT GUIDE CO.,

     Defendant.



                                CASE MANAGEMENT PLAN

I.     Parties and Representatives

       A. Parties

           Plaintiff:                     Defendant:
           Cynthia J. Schnapf               Merchants’ Credit Guide Co.

       B. Representatives

           For Plaintiff:                   For Defendant:

Nathan Charles Volheim                      David M. Schultz
Taxiarchis Hatzidimitriadis                 Brandon S. Stein
Eric D. Coleman                             Hinshaw & Culbertson, LLP
Sulaiman Law Group, Ltd.                    151 N Franklin St – Ste 2500
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 II.   Jurisdiction and Statement of Claims

       A.    Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §§1331 and
             1337, as the action arises under the laws of the United States.

       B.    Plaintiff has brought a Complaint against Defendant which alleges violations of
             the Fair Debt Collection Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq.
             related to Defendant’s debt collection activities. Plaintiff asserts that Defendant
             sent her a misleading and harassing correspondence seeking payment of a
             consumer debt.

       C.    Plaintiff’s claim is a “bizarre or idiosyncratic” interpretation of a collection notice
             and an attorney driven attempt to hold a debt collector liable under a provision of
             the FDCPA that Courts limit to “egregious situations where the debt collector
             overtly impersonates a government agency or where it attempts to hide its identity
             by using a false alias.” When the Court views the letter as a whole, it, as would
             any unsophisticated consumer, will see that the letter clearly does not impersonate
             a government agency or attempt to hide an identity. Rather, Defendant was more
             than upfront about being a collection agency from Chicago, IL.

III.   Pretrial Pleadings and Disclosures

       A.    The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
             March 8, 2019.

       B.    Plaintiff shall file preliminary witness and exhibit lists on or before March 18,
             2019.

       C.    Defendant shall file preliminary witness and exhibit lists on or before March 25,
             2019.

       D.    All motions for leave to amend the pleadings and/or to join additional parties shall
             be filed on or before April 4, 2019.

       E.    Plaintiff shall serve Defendant (but not file with the Court) a statement of special
             damages, if any, and make a settlement demand, on or before March 8, 2019.
             Defendant shall serve on the Plaintiff (but not file with the Court) a response
             thereto within 30 days after receipt of the demand.

       F.    Except where governed by paragraph (G) below, expert witness disclosure
             deadlines shall conform to the following schedule: Plaintiff shall disclose the
             name, address, and vita of any expert witness, and shall serve the report required
             by Fed. R. Civ. P. 26(a)(2) on or before April 24, 2019 . Defendant shall disclose
             the name, address, and vita of any expert witness, and shall serve the report
             required by Fed. R. Civ. P. 26(a)(2) on or before May 7, 2019; or if Plaintiff has




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            disclosed no experts, Defendant shall make its expert disclosure on or before May
            7, 2019.

      G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
            expert testimony in connection with a motion for summary judgment to be filed
            by that party, such expert disclosures must be served on opposing counsel no later
            than 90 days prior to the dispositive motion deadline. If such expert disclosures
            are served the parties shall confer within 7 days to stipulate to a date for
            responsive disclosures (if any) and completion of expert discovery necessary for
            efficient resolution of the anticipated motion for summary judgment. The parties
            shall make good faith efforts to avoid requesting enlargements of the dispositive
            motions deadline and related briefing deadlines. Any proposed modifications of
            the CMP deadlines or briefing schedule must be approved by the court.

      H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
            such objections on or before June 17, 2019. Any party who wishes to preclude
            expert witness testimony at the summary judgment stage shall file any such
            objections with their responsive brief within the briefing schedule established by
            S.D. Ind. L.R. 56-1.

      I.    All parties shall file and serve their final witness and exhibit lists on or before
            July 29, 2019. This list should reflect the specific potential witnesses the party
            may call at trial. It is not sufficient for a party to simply incorporate by reference
            “any witness listed in discovery” or such general statements. The list of final
            witnesses shall include a brief synopsis of the expected testimony.

      J.    Any party who believes that bifurcation of discovery and/or trial is appropriate
            with respect to any issue or claim shall notify the Court as soon as practicable.

      K.     Discovery of electronically stored information (“ESI”). The parties do not
            anticipate a large volume of ESI to be sought. To the extent that any ESI is
            sought, the parties agree that .pdf will be the format when applicable.

            In the event that a document protected by the attorney-client privilege, the
            attorney work product doctrine or other applicable privilege or protection is
            unintentionally produced by any party to this proceeding, the producing party may
            request that the document be returned. In the event that such a request is made,
            all parties to the litigation and their counsel shall promptly return all copies of the
            document in their possession, custody, or control to the producing party and shall
            not retain or make any copies of the document or any documents derived from
            such document. The producing party shall promptly identify the returned
            document on a privilege log. The unintentional disclosure of a privileged or
            otherwise protected document shall not constitute a waiver of the privilege or
            protection with respect to that document or any other documents involving the
            same or similar subject matter.




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IV.    Discovery1 and Dispositive Motions

       A.     The parties anticipate filing cross-motions for summary judgment on the
              following issues: Whether Defendant’s collection communication with Plaintiff
              was misleading, harassing and an unfair violation of the FDCPA.

       B.     On or before July 12, 2019 and consistent with the certification provisions of Fed.
              R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the
              claims or defenses it intends to prove at trial, stating specifically the legal theories
              upon which the claims or defenses are based

       C.     Select the track that best suits this case:

                 X      Track 2: Dispositive motions are expected and shall be filed by August
              12, 2019; non-expert witness discovery and discovery relating to liability issues
              shall be completed by June 17, 2019; expert witness discovery and discovery
              related to damages shall be completed by July 15, 2019. All remaining discovery
              shall be completed by no later than July 15, 2019.

              Absent leave of court, and for good cause shown, all issues raised on summary
              judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

V.     Pre-Trial/Settlement Conferences

       At any time, any party may call the Judge's Staff to request a conference, or the Court
       may sua sponte schedule a conference at any time. The presumptive time for a settlement
       conference is no later than 30 days before the close of non-expert discovery. The parties
       are encouraged to request an earlier date if they believe the assistance of the Magistrate
       Judge would be helpful in achieving settlement. The parties do not believe that a
       settlement conference would be productive in this matter. To the extent that the Court
       chooses to set a settlement conference, the parties suggest that it occur in June of 2019.

VI.    Trial Date

       The parties request a trial date in March 2020. The trial is by jury and is anticipated to
       take two (2) days.




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 The term “completed,” as used in Section IV.B, means that counsel must serve their discovery
requests in sufficient time to receive responses before this deadline. Counsel may not serve
discovery requests within the 30-day period before this deadline unless they seek leave of Court
to serve a belated request and show good cause for the same. In such event, the proposed belated
discovery request shall be filed with the motion, and the opposing party will receive it with
service of the motion but need not respond to the same until such time as the Court grants the
motion.


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VII.   Referral to Magistrate Judge

       A.    Case. At this time, all parties DO NOT consent to refer this matter to the
             currently assigned Magistrate Judge pursuant to 28 U.S.C. 636(b) and Federal
             Rules of Civil Procedure 73 for all further proceedings including trial.

       B.    Motions. The parties may also consent to having the assigned Magistrate Judge
             rule on motions ordinarily handled by the District Judge, such as motions to
             dismiss, for summary judgment, or for remand. If all parties consent, they should
             file a joint stipulation to that effect. Partial consents are subject to the approval of
             the presiding district judge.

VIII. Required Pre-Trial Preparation

       A.    TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
             parties shall:

             1.     File a list of trial witnesses, by name, who are actually expected to be
                    called to testify at trial. This list may not include any witnesses not on a
                    party’s final witness list filed pursuant to section III.I.

             2.     Number in sequential order all exhibits, including graphs, charts and the
                    like, that will be used during the trial. Provide the Court with a list of
                    these exhibits, including a description of each exhibit and the identifying
                    designation. Make the original exhibits available for inspection by
                    opposing counsel. Stipulations as to the authenticity and admissibility of
                    exhibits are encouraged to the greatest extent possible.

             3.     Submit all stipulations of facts in writing to the Court. Stipulations are
                    always encouraged so that at trial, counsel can concentrate on relevant
                    contested facts.

             4.     A party who intends to offer any depositions into evidence during the
                    party's case in chief shall prepare and file with the Court and copy to all
                    opposing parties either:

                    a.      brief written summaries of the relevant facts in the depositions that
                            will be offered. (Because such a summary will be used in lieu of
                            the actual deposition testimony to eliminate time reading
                            depositions in a question and answer format, this is strongly
                            encouraged.); or

                    b.      if a summary is inappropriate, a document which lists the portions
                            of the deposition(s), including the specific page and line numbers,
                            that will be read, or, in the event of a video-taped deposition, the




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                           portions of the deposition that will be played, designated
                           specifically by counter-numbers.

             5.     Provide all other parties and the Court with any trial briefs and motions in
                    limine, along with all proposed jury instructions, voir dire questions, and
                    areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                    findings of fact and conclusions of law).

             6.     Notify the Court and opposing counsel of the anticipated use of any
                    evidence presentation equipment.

      B.     ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
             parties shall:

             1.     Notify opposing counsel in writing of any objections to the proposed
                    exhibits. If the parties desire a ruling on the objection prior to trial, a
                    motion should be filed noting the objection and a description and
                    designation of the exhibit, the basis of the objection, and the legal
                    authorities supporting the objection.

             2.     If a party has an objection to the deposition summary or to a designated
                    portion of a deposition that will be offered at trial, or if a party intends to
                    offer additional portions at trial in response to the opponent's designation,
                    and the parties desire a ruling on the objection prior to trial, the party shall
                    submit the objections and counter summaries or designations to the Court
                    in writing. Any objections shall be made in the same manner as for
                    proposed exhibits. However, in the case of objections to video-taped
                    depositions, the objections shall be brought to the Court's immediate
                    attention to allow adequate time for editing of the deposition prior to trial.

             3.     File objections to any motions in limine, proposed instructions, and voir
                    dire questions submitted by the opposing parties.

             4.     Notify the Court and opposing counsel of requests for separation of
                    witnesses at trial.

IX.   Other Matters

Defendant filed a Motion to Stay Discovery (Dkt. #16) during the pendency of the Court’s
consideration of Defendant’s Motion to Dismiss Plaintiff’s Complaint (Dkt. #14-15).
Plaintiff opposes this Motion. Defendant requests that the Court stay discovery and/or
decline to enter a case management order until the Court resolves the Motion to Stay
Discovery.




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s/ Nathan C. Volheim                      /s/ Brandon S. Stein
Nathan C. Volheim, Esq. #6302103          Brandon S. Stein
Sulaiman Law Group, Ltd.                  Hinshaw & Culbertson LLP
Counsel for Plaintiff                     Counsel for Defendant




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             PARTIES APPEARED IN PERSON/BY COUNSEL ON                   FOR A
             PRETRIAL/STATUS CONFERENCE.

             APPROVED AS SUBMITTED.

             APPROVED AS AMENDED.

             APPROVED AS AMENDED PER SEPARATE ORDER.

             APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
             SHORTENED/LENGTHENED BY ______________ MONTHS.


             APPROVED, BUT THE DEADLINES SET IN SECTION(S)
             _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
             ______________ MONTHS.


             THIS MATTER IS SET FOR TRIAL BY                   ON
             _____________________________. FINAL PRETRIAL CONFERENCE IS
             SCHEDULED FOR ____________________________________ AT     .M.,
             ROOM                   .


             A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                              AT       .M. COUNSEL SHALL APPEAR:

                                      IN PERSON IN ROOM          ; OR

                                      BY TELEPHONE, WITH COUNSEL FOR
                        INITIATING THE CALL TO ALL OTHER PARTIES AND
                        ADDING THE COURT JUDGE AT (____)
                        ___________________; OR

                                      BY TELEPHONE, WITH COUNSEL
                        CALLING THE JUDGE'S STAFF AT (____)
                        ___________________;


             DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
             _____________________




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       Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
Order of the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and
including dismissal or default.

         Approved and So Ordered.




________________________                            ___________________________________
Date                                                U. S. District Court
                                                    Southern District of Indiana




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